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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Equal Employment Opportunity Commision
                                                 Plaintiff,
v.                                                             Case No.: 1:14−cv−06553
                                                               Honorable Ruben Castillo
Costco Wholesale Corp.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 27, 2018:


       MINUTE entry before the Honorable Ruben Castillo:EEOC's motion for
continuance due to government shutdown [307] is granted. (rao, )




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